      Case 2:22-cv-00937-GMN-DJA Document 1 Filed 06/12/22 Page 1 of 16




EDWARD BISSAU MENDY, PRO SE
13308 Paramount Blvd
South Gate, CA 90280
(504) 339-4782 (Cellular)
E-Mail: ebmendy@me.com


                            UNITED STATES DISTRICT COURT

                                   DISTRICT OF NEVADA


EDWARD BISSAU MENDY
                                                      CIVIL ACTION
      Plaintiff

                       -versus-                       CASE NO.: ______________
LUIS A. TAPIA,
LAYLA MCCARTER,                                       DIVISION:         ______________
DOES 1 through 10,

      Defendants
                                                      MAGISTRATE: _____________


                                                          PETITION FOR DAMAGES, and
                                                                JURY DAMAND



                     PETITION FOR DAMAGES and JURY DEMAND



       NOW INTO COURT, in proper person, comes Plaintiff, EDWARD BISSAU MENDY,

and upon suggesting to this honorable court that Plaintiff wishes to bring a Complaint, Petition for

Damages and Jury Demand against Defendants, Luis A. Tapia, Layla McCarter and various of

their unknown co-conspirators involved in their scheme to slander Plaintiff Mendy, respectfully

avers as follows:




                                                 1
      Case 2:22-cv-00937-GMN-DJA Document 1 Filed 06/12/22 Page 2 of 16




                                          JURISDICTION

       1. Jurisdiction of this Court is invoked pursuant to 28 U.S.C. Sections 1332, based upon

diversity of citizenship, and by reason of this court's pendent jurisdiction.

       2. The matter in controversy, exclusive of interest and costs, exceeds the sum of Seventy

Five Thousand Dollars ($75,000. 00) and the parties are citizens of different states. Thus,

jurisdiction of this Court is also appropriate based upon diversity of citizenship pursuant to 28

U.S.C. Sections 1332.

       3. Original Jurisdiction of this matter is conferred upon the Court by 28 U.S.C. Section

1332. Supplemental jurisdiction over State law claims is conferred upon this Court by 28 U.S.C.

Section 1367.

       4. Venue is proper within this jurisdiction pursuant to 28 U. S. C. Section 1391(b) because

the claims stated herein, and the unlawful practices complained of herein occurred within the

District of Nevada.

       5. Plaintiff is informed and believe, and based thereon allege, that at all relevant times, the

Defendants engaged in certain wrongful acts alleged below in the District of Nevada and engaged

in other unlawful acts outside this District which caused injury to Plaintiff in this District.

       6. Further, both named defendants live Las Vegas, which is located within the District of

Nevada. Accordingly, venue properly lies in this District.

                                                 PARTIES

       7. Plaintiff herein (hereinafter also referred to as “Plaintiff”) is EDWARD BISSAU

MENDY (hereinafter also referred to "Mendy"), a natural person of the full age of majority, and

having his principal place of residence in Morris County, State of New Jersey. At all times relevant,

Mendy was and is a citizen of the State of New Jersey.




                                                   2
      Case 2:22-cv-00937-GMN-DJA Document 1 Filed 06/12/22 Page 3 of 16




       8. Made Defendants herein (hereinafter also collectively referred to as “Defendants”) are

the following:

       A. LUIS A. TAPIA (hereinafter also referred to “Tapia”), on information and belief is a

person of the full age of majority and professional boxing coach licensed or seeking to be licensed

as a second under the laws of the State of Nevada, licensed to do business in and doing business

in the District of Nevada as a professional boxing coach and/or manager. On belief and

information, Tapia is a citizen of the State of Nevada and resident in las Vegas, Nevada. At all

relevant times, Tapia was the coach, trainer, corner and second of Layla McCarter.

       B. LAYLA MCCARTER, on belief and information, legally named Layla McCarter and

also known by her fight name AMAZING LAYLA MCCARTER (hereinafter also referred to

“Layla McCarter” or simply as “McCarter”). On information and belief Layla McCarter is a

person of the full age of majority and professional boxer licensed under the laws of the State of

Nevada, licensed to do business in and doing business in the District of Nevada as a professional

boxer. On belief and information, Layla McCarter is a citizen of the State of Nevada and is now

resident in Las Vegas, Nevada.

       C.    Does 1 through 10, the true names or capacities, whether individual, corporate,

associate or otherwise, of the Defendants named herein as Does 1 through 10 are unknown to

Plaintiff, who therefore sues said Defendants by such fictitious names, and Plaintiff will amend

this complaint to show their true names and capacities when the same have been ascertained.

                                 GENERAL ALLEGATIONS

        9. On or about April 19, 2022, Edward Bissau Mendy (hereinafter also referred to as

“Mendy”) participated in a mandatory purse bid ordered by the World Boxing Council (WBC) for

a world title elimination bout and WBC Silver World title fight between Defendant Layla




                                                3
         Case 2:22-cv-00937-GMN-DJA Document 1 Filed 06/12/22 Page 4 of 16




McCarter and Ivana Habazin (hereinafter also referred to as the “Fight”).

         10. As Tapia had been disparaging Habazin’s skills the weeks leading to the fight, there

was little interest in the bidding on the fight by the Boxing community.

         11. On belief and information, only three promoters registered to bid.

         12. Mendy submitted a winning bid of $16,00100 and was awarded the right to stage the

Fight.

         13. As required by the WBC, Mendy sent a deposit of $1,600.10, 10% of the bid he placed

as required by WBC bid rules.

         14. Further, Mendy sent a contract to both fighters, through their managers, using the

model contract template proscribed by the Association of Boxing Commissions.

         15. Habazin sent her contract to Mendy timely, and after adding amendatory language.

         16. McCarter did not send in a signed contract or otherwise try to make changes to the

contract.

         17. On Friday, June 10, 2022, well after the deadline has passed, Mr. Tapia contacted the

WBC and made various libelous and defamatory statements about Mendy.

         18. Specifically, Tapia wrote the following:

                To all;

                Mr. Mendy has failed to meet the deadline. Pursuant to WBC rules for the
         purse bid of McCarter/Habazin, a venue was to be presented by Mr. Mendy no later
         than June 3rd.

                 Contracts would be step #3 after a venue and date are presented. Regarding
         the "contract"; i.e. somewhere in Zagreb, Croatia venue TBA, promoter license
         TBA, at a weight of 147 plus or minus 2 pounds, glove weight 10 ounces, Sep 3rd
         or up to 30 days later at a different venue...etc. As anyone in the boxing business
         can attest, this contract is not legitimate in any way...nor is Mr. Mendy a legitimate
         promoter. My concerns about dealing with Mr. Mendy based on our past
         experiences have been previously expressed. This week he contacted my good
         friend and promoter Thell Torrence of Platinum Promotions in Las Vegas to ask



                                                   4
      Case 2:22-cv-00937-GMN-DJA Document 1 Filed 06/12/22 Page 5 of 16




       about paying to use his license to promote this fight. In any case, Mr. Mendy did
       not meet the WBC deadline for securing a venue. As Mr. Muniz put it, "enough is
       enough!"

                 Mr. Muniz has worked hard to give his fighter Ivana Habazin another shot
       at a title by disparaging my fighter Layla McCarter. His claims are dishonest and a
       blatant attempt to move Habazin above McCarter in the ratings. I hope the WBC
       recognizes this and credits the fighters for what is done in the ring. Enough time
       has been wasted between us all. I look forward to moving on and getting Layla
       back into the ring as soon as possible.

               Thank you.

               Luis A. Tapia
               Manager/Layla McCarter

       The above and various defamatory statements we made by Tapia via email to the WBC,

it’s president and others. See email chain attached here to and made part of as Exhibit “A”.

       19. In addition to sending the fight contract to Tapia, Mendy had made best effort to

perform Mendy’s duties as a promoter of the Fight under the terms of the bid as well as WBC

rules, WBC practices and industry standards.

       20. Among the things Mendy did in furtherance of the Contract was securing venue

alternatives to organize the fight, and otherwise spending and inordinate amount of time, all in

effort ensure a successful fight.

       21. Beginning on or about April 12, 2022, and continuing to the present, Layla McCarter,

Luis A. Tapia, as well as other acting in concert with them, engages in a scheme to defame Mendy

by using him as a scapegoat for refusing to take fight with Habazin.

       22. The June 10, 2022 and June 11, 2022 emails and the defamatory statements in them

are simply a continuation of the defamation plot against Mendy.

       23. To make their defamatory statements against Mendy believed by those they were made

to as well as to inflict the most harm on Mendy, Tapia and McCarter routinely invoked their




                                                5
      Case 2:22-cv-00937-GMN-DJA Document 1 Filed 06/12/22 Page 6 of 16




friendship of decades with Mendy as a basis for having people believe their false statements. For

example, Tapia wrote in a June 11, 2022 email: “I have know[n] for a long time and I know who

you are. Everybody else doesn’t.” Id. Per him, as he knows Mendy best, people should believe

him and form independent judgment of Mendy based on their interactions with him.

                                 FIRST CLAIM FOR RELIEF
                            (Against Defendants McCarter, Tapia and
                          Does 1 Through Does 10 for Libel and Slander)
                                    LIBEL AND SLANDER

       24. Plaintiff realleges and incorporates by reference Paragraphs 7 through 23, inclusive, as

though set forth at length and Plaintiff specifically hereby incorporates by reference all of the

paragraphs of the General Allegations as though fully set forth herein.

       25. Plaintiff is informed and believes, and thereon alleges that during and at all times

relevant herein, Defendants McCarter, Tapia, and Does 1 Through Does 10, and each of them,

uttered and published false and defamatory statements concerning Plaintiff, which were reasonably

understood by those who hearing same as referring to Plaintiff.

       26. Among other things, McCarter, Tapia, and Does 1 Through Does 10, and other

associates and agents of Defendants, falsely represented that the sole reason for McCarter not

fighting Habazin was because of Mendy’s involvement.

       27. Defendants falsely represented Mendy as Habazin’s promoter and one that could not

be trusted to successfully stage the fight.

       28. Among the many defamatory statement made by defendants, specifically Luis Tapia,

include but are not limited to the following:

       a.      Mendy is not a legitimate promoter.
       b.      The contract offered to McCarter by Mendy was “illegitimate.”
       c.      Everyone in boxing could attest to the said Contract’s illegitimacy.
       d.      Tapia had legitimate concerns about doing the Fight based on his personal
               experiences with Mendy and from dealing with Mendy.



                                                6
      Case 2:22-cv-00937-GMN-DJA Document 1 Filed 06/12/22 Page 7 of 16




       e.      Mendy does not have any promoter license.
       f.      Mendy called Thell Torrence to ask Torrence for the use of his Nevada license.
       g.      Mendy used Mr. Tapia’s name in order to induce Torrence to work with Mendy.
       h.      Mendy used Ms. McCarter’s name in order to induce Torrence to work with Mendy.
       i.      Mendy did not know Mr. Torrence until he was recently contacted by Mendy about
               the Fight.
       j.      Mendy will never be a promoter in Nevada, suggesting that Mendy cannot and will
               never qualify to be a promoter in Nevada.
       k.      Mendy is not worthy of WBC trust.
       l.      Mendy is not worthy of the trust Habazin and her manager, Charles Muniz.
       m.      Mendy was pretending to be someone he is not.
       n.      Mendy did not have any venue for the Fight
       o.      Mendy is calling everyone to help him with a venue.
       p.      Mendy is liar.
       q.      Mendy’s statements in response to Tapia’s emails were all “Lies and lies.”
       r.      Mendy does not meet his obligations with anyone.
       s.      Mendy did not meet his obligations with the WBC related to the fight.
       t.      Mendy cannot be trusted to meet his obligations related to the fight.
       u.      Mendy has failed to meet WBC rules for identifying a venue.
       v.      Mendy has failed to meet WBC rules for negotiating a contract with McCarter.
       w.      Mendy was not capable of promoting the Fight.
       x.      Mendy did not have the financial resources to promote the Fight.
       y.      Mendy is the worst boxing promoter of all time.
       z.      Mendy is the worst boxing promoter in boxing.
       aa.     Mendy knew in advance of Ms. McCarter’s opponent on April 10, 2021 being
               overweight [“25 lbs over the weight we agreed.”] but Mendy did not have the
               “courage and honesty to let Defendants Tapia and McCarter know.
       bb.     Mendy cheats fighters.
       cc.     Mendy cheats “Everybody else!”

       29. The above statements were made via email Tapia to the WBC, WBC President

Mauricio Sulaiman, the WBC’s Malte Muller, Charles Muniz, Ivana Habazin, Layla McCarter,

and Al Taylor on June 10th and 11th, 2022.

       30. Plaintiff is informed and believes, and thereon alleges that the above and similarly false

and defamatory statements were made by the Defendants McCarter, Tapia, and Does 1 Through

Does 10 to Don King, Roy Englebrecht, Thell Torrance and others that the Defendants knew

Plaintiff to have dealings with.




                                                 7
      Case 2:22-cv-00937-GMN-DJA Document 1 Filed 06/12/22 Page 8 of 16




       31. Plaintiff is informed and believes, and thereon alleges that the above and similarly false

and defamatory statements were made by the Defendants McCarter, Tapia, and Does 1 Through

Does 10 on Twitter, Facebook and other social media platform.

       32. Plaintiff is informed and believes, and thereon alleges that the above and similarly false

and defamatory statements were made by the Defendants McCarter, Tapia, and Does 1 Through

Does 10 to anyone who had their audience and whenever Mendy’s name or fighting Habazin was

brought up.

       33. Plaintiff is informed and believes, and thereon alleges that the above and similarly

false and defamatory statements were made by the Defendants McCarter, Tapia, and Does 1

Through Does 10 with the intent of conveying the false and defamatory idea that Plaintiff was the

worst promoter in boxing or the worst promoter of all time.

       34. Further, the false and defamatory statements were made by the Defendants McCarter,

Tapia, and Does 1 Through Does 10 with the intent of conveying the false and defamatory idea

that Plaintiff was lying when he stated that he made numerous offers to McCarter in effort to get

her to fight Habazin.

       35. Further, the false and defamatory statements were made by the Defendants McCarter,

Tapia, and Does 1 Through Does 10 with the intent of conveying the false and defamatory idea

that Plaintiff was lying when he stated that he had known Defendants Tapia and McCarter for a

long time and was surprised by their reluctance to fight Habazin.

       36. Further, the false and defamatory statements were made by the Defendants McCarter,

Tapia, and Does 1 Through Does 10 with the intent of conveying the false and defamatory idea

that Plaintiff was lying when he suggested that the reason Defendant Tapia was reluctant to have




                                                 8
      Case 2:22-cv-00937-GMN-DJA Document 1 Filed 06/12/22 Page 9 of 16




McCarter fight Habazin was because Habazin was taller and bigger, and perhaps Tapia realized

that Habazin would be a difficult fight for his boxer.

       37. The words that were uttered by Defendants McCarter, Tapia, and Does 1 through 10

were slanderous per se because they made various false statements regarding Plaintiff's reputation,

and by innuendo by impliedly accused Plaintiff of lying and/or otherwise an illegitimate promoter

who was illegally perpetuating a fraud on the WBC by bidding on the fight he could not promoter,

that Plaintiff was falsely representing himself as a promoter when he was not and otherwise falsely

pretending to be someone he was not. On belief and information, Defendants knew the impact of

their words on Plaintiff’s relationships, his career as a promoter as well as on the seminal lawsuit

he filed to take on Boxing powerhouses BoxRec, the Association of Boxing Commissions, and

Kinahan Cartel members MTK Global and Daniel Kinahan, among others (Mendy v. BoxRec,

PAMD 22-CV-00535). On belief and information, Defendants have had and continue to have

conversation with the BoxRec defendants and are engaged in their defamatory scheme in part as

an extension of a smear campaign initiated by such defendants, to ingratiate themselves to the said

defendants and/or improve their own standing in the boxing world.

       38. The words were understood by those who heard them in a way which defamed Plaintiff

Edward Bissau Mendy because the words were intended to slander Plaintiff's reputation in an

attempt to make the WBC and public, including people in the Boxing fraternity and associates of

Mendy in particular, to believe that Plaintiff was not only an illegitimate and crooked promoter

but also is “the worst promoter of all time,” a Herculean crown to achieve given the fact that the

sport of boxing historically has been is rife with some of the most unsavory characters and known

crooked promoters.




                                                 9
      Case 2:22-cv-00937-GMN-DJA Document 1 Filed 06/12/22 Page 10 of 16




          39. Further, Defendants defamed Mendy by suggesting that Mendy made false allegations

about fight offers and other statements against Defendants. Defendants suggested that their

statements should be believed because of their personal knowledge of Mendy and long-term

relationship and friendship with him. [Friends do not make statements about friends unless they

are telling the truth and stating facts.]

          40. As a direct proximate result of the above-described words, Plaintiff has suffered the

special damages. Specifically, Plaintiff has suffered loss of his reputation, shame, mortification,

emotional distress, and injury to his feelings, while suffering and continuing to suffer general and

special damages as set forth herein.

          41. As a direct proximate result of the above-described words, Plaintiff Mendy has suffered

the other damages, including general damages, which will all be identified at trial as set forth

herein.

          42. The words described above were spoken by Defendants because of their selfish ends,

and on belief because of their feelings of hatred and ill will toward the Plaintiff, as well as a desire

to oppress and silence Plaintiff, and thus entitling Plaintiff to an award of exemplary and punitive

damages in an amount according to law.

          43. As a result of their actions and defamation of Plaintiff, Defendants have caused

Plaintiff to suffer substantial damages as set forth herein.

          44. As a result of the conduct alleged herein, Plaintiff has suffered damages in an amount

to be proven at trial but on information and belief well over One Million Dollars ($1,000,000.00),

for which defendants are liable, jointly and/or severally.




                                                  10
        Case 2:22-cv-00937-GMN-DJA Document 1 Filed 06/12/22 Page 11 of 16




                               SECOND CLAIM FOR RELIEF
            (Against all Defendants, particularly Tapia for Inducing Breach of Contract)
                            INDUCING BREACH OF CONTRACT

         45. Plaintiff realleges and incorporates by reference Paragraphs 7 through 44, inclusive, as

though set forth at length.

         46. In early April 2022, Mendy informed Tapia that he was helping Don King Production

with a fight that DKP had planned for June 11, 2022 and that Mendy would be happy to talk to

DKP about putting on the proposed fight between McCarter and Habazin on the June 11, 2022

card.

         47. Rather than let Mendy proceed with his plans of getting approval for the McCarter vs

Habazin fight, Tapia contacted DKP and on information and believe conveyed defamatory

statements to him.

         48. The end result was that DKP ended up sidelining Mendy and not having him complete

his participation as a co-promoter of the June 11, 2022 event.

         49. Mendy’s agreement to help DKP (the Contract) is a valid and existing contract between

DPK and Plaintiff. Edward Bissau Mendy is informed and believes, and on that basis alleges, that

Defendant Tapia and Does 1 through 10 had knowledge or should have had knowledge of the

Contract yet still proceeded to induce a breach of the Contract by DKP and/or otherwise disrupted

the Contract through improper means.

         50. On belief and information, Defendant Tapia’s purpose for doing what he did was to

interfere with Plaintiff’s prospective business advantage to his own.

         51. As a result of Inducement Defendants’ conduct, Plaintiff Mendy has suffered general,

special, actual, and compensatory damages, in an amount to be proven at trial for all of which the

Defendants are liable.




                                                 11
     Case 2:22-cv-00937-GMN-DJA Document 1 Filed 06/12/22 Page 12 of 16




       52. As a direct result of the actions of Defendants Tapia and Does 1 through Does 10, the

contractual relationship between DKP and Plaintiff has been disrupted. Plaintiff has suffered actual

and potential damages in an amount as yet unknown but which Plaintiff believes to be in excess

of One Million Dollars. Plaintiff shall amend his complaint to set forth the amount of his damages

when ascertained.

       53. The acts by Defendants and Does 1 through Does 10 were willful, wanton, malicious,

and oppressive, and were undertaken with the intent to injure Mendy, and for profit and gain of

the Defendants. Such conduct therefore justifies an award of exemplary and punitive damages to

the full extent permitted by Nevada law and in an amount to be proven at trial.

                                   THIRD CLAIM FOR RELIEF
      (Against Tapia and Does 1 through Does 10 for interference with Business Relations)
                        INTERFERENCE WITH BUSINESS RELATIONS

       54. Plaintiff adopts, alleges, and affirms all allegations and averments contained in the

above and forgoing paragraphs of this Complaint, especially the allegations contained in

paragraphs 7 through 53.

       55. By the conduct described herein and above, Defendants Tapia, and Does 1 through

Does 10 have intentionally, maliciously, and wantonly interfered with the business relations of

Plaintiff Mendy.

       55. As a result of Inducement Defendants' conduct, Mendy suffered and continues to suffer

general, special, actual, and compensatory damages, in an amount to be proven at trial and for all

of which Defendants are liable.

       56. Plaintiff has an advantageous business relationship with DKP and Don King. Plaintiff

also had advantageous business relations Azeez Almoudi, Antonio Mesquita, Roy Englebrecht and

Thell Torrence.




                                                12
      Case 2:22-cv-00937-GMN-DJA Document 1 Filed 06/12/22 Page 13 of 16




        57. Defendants Tapia and Does 1 through Does 10 were aware of this advantageous

business relationships but, despite this knowledge, engaged in the conduct alleged herein.

        58. Defendants undertook the alleged conduct for improper purposes, including but not

limited to, inflicting an economic injury on Plaintiff.

        59. As a result of the conduct alleged herein; Plaintiff has suffered damages in an amount

to be proven at trial.

        60. The conduct of Defendants as alleged herein was undertaken in bad faith, was malicious

and manifested wanton disregard of and reckless indifference towards the rights of Plaintiff,

thereby entitling Plaintiff to punitive or exemplary damages.

                              FOURTH CLAIM FOR RELIEF
                    (Against Tapia for Intentional Interference with Contract)
                   INTENTIONAL INTERFERENCE WITH CONTRACT

        61. Plaintiff Edward Bissau Mendy adopts, alleges, and affirms all allegations and

averments contained in the above and forgoing paragraphs 7 to 60 of this Complaint.

        62. By the conduct described herein and above, Defendant Tapia, and Does 1 through Does

10 have intentionally, maliciously, recklessly and/or wantonly interfered with the Contract as

described above.

        63. As a result of Inducement Defendants’ conduct, Mendy have suffered and continue to

suffer general, special, actual, and compensatory damages, for all of which Defendants are liable.

                               FOURTH CLAIM FOR RELIEF
                           (Against all Defendants for Civil Conspiracy)
                                     CIVIL CONSPIRACY

        64. Edward Bissau Mendy adopts, alleges, and affirms all allegations and averments

contained in the above and forgoing paragraphs of this Complaint.




                                                 13
      Case 2:22-cv-00937-GMN-DJA Document 1 Filed 06/12/22 Page 14 of 16




       65. Defendants Layla McCarter, Luis Tapia and Does 1 through Does 10, and their

associates conspired and continue to conspire with each other and others against Mendy, as alleged

herein and above including, but not limited to intentionally defaming Mendy through vicious libel

and slander, depriving Plaintiff of his contractual rights and/or interfering with his valuable

business relations and his contractual relations.

       66. On belief and information, Tapia is an integral part of the conspiracy and may have

been the instigator and promoter of same by colluding with BoxRec, its owners, and possibly other

defendants involved in the Mendy vs. BoxRec lawsuit in order to perpetrate the falsehood that not

only is Mendy a horrible promoter but also, he was deserving of the actions meted on him,

including the failure to record his fights. The full extent of the conspiracy and its total members

are unknown but will be proven at trial.

       67. As a result of Defendants' conduct and conspiracy, Plaintiff has suffered and continues

to suffer general, special, actual, and compensatory damages, in an amount to be proven at trial for

all of which Defendants are jointly and severally liable.

                            FOURTEENTH CLAIM FOR RELIEF
                          (Against all Defendants for Punitive Damages)
                                     PUNITIVE DAMAGES

       68. Plaintiff adopts, alleges, and affirms all allegations and averments contained in the

above and forgoing paragraphs of this Complaint.

       69. Defendants' conduct was intentional, grossly negligent, reckless, willful, and wanton

malicious oppressive, and/or unmindful of their obligations to Plaintiff and/or exhibited that entire

want of care which would raise the presumption of conscious indifference to consequences so as

to warrant the imposition of punitive and/or liquidated damages in an amount sufficient to punish,

penalize, and/or deter Defendants, for which Defendants are jointly and severally liable.




                                                    14
      Case 2:22-cv-00937-GMN-DJA Document 1 Filed 06/12/22 Page 15 of 16




       70. Defendants acted capriciously and with wanton disregard for Plaintiff' contractual

rights. As a result, Plaintiff is entitled to punitive damages to the full extent provided by New

Jersey law.

                             FIFTEENTH CLAIM FOR RELIEF
              (Against all Defendants or Expense of Litigation and Attorneys' Fees)
                 EXPENSES OF LITIGATION AND ATTORNEYS' FEES

       71. Plaintiff adopts, alleges, and affirms all allegations and averments contained in the

above and forgoing paragraphs of this Complaint. Defendants breached the terms of the Contract

by repudiating it. Therefore, Plaintiff may recover the expenses of this litigation including, but not

limited to, reasonable attorneys' fees and costs, for all of which Defendants are liable.

       72. Pursuant to both Nevada Law and New Jersey law, Plaintiff may recover attorney fees

and expenses of litigation for which Defendants are jointly and severally liable.

       73. Defendants' conduct has been in bad faith, stubbornly contentious and/or caused

Plaintiff unnecessary trouble and expense, and on account thereof, Plaintiff is entitled to recover

the expenses of this litigation including, but not limited to, attorneys' fees, for all of which

Defendant are jointly and severally liable.

       74. Alternative to and in conjunction with an award of attorney fees, Plaintiff should be

awarded a reasonable amount for representing himself in this matter, should it be unnecessary for

him the hire an attorney.

                                 REQUEST FOR JURY TRIAL

       75. Plaintiff hereby request trial by jury.

       WHEREFORE, Plaintiff prays that Defendants be cited and served with a copy of this

petition and that, after all legal delays and due proceedings are had, there be judgment rendered in




                                                 15
      Case 2:22-cv-00937-GMN-DJA Document 1 Filed 06/12/22 Page 16 of 16




favor of the Plaintiff, and against Defendants, Layla McCarter, Luis A. Tapia, and Does 1 through

10, individually and jointly and severally.

        Plaintiff further prays that this court Award Plaintiff general damages in amount to be

proven at trial.

        Plaintiff further prays that this court Award Plaintiff special damages in amount to be

proven at trial.

        Plaintiff further prays that this court Award Plaintiff compensatory damages in amount to

be proven at trial.

        Plaintiff further prays that this court Award Plaintiff exemplary and punitive damages in

an amount to be proven at trial.

        Plaintiff further prays that this court Award Plaintiff the costs of this action together with

reasonable attorney fees if an attorney is retained to represent Plaintiff or quantum meruit if not

attorney is retained in an amount to be proven at trial, as provided for by law.

        Plaintiff further prays that this court Grant such other and further legal and equitable relief

as this court deems necessary and proper and adjudges after a trial by jury herein.

                                                       Respectfully Submitted

                                                       /s/ Edward Mendy
                                                       ________________________________
                                                       EDWARD BISSAU MENDY, PRO SE
                                                       13308 Paramount Blvd
                                                       South Gate, CA 90280
                                                       (504) 339-4782 (Cellular)
                                                       ebmendy@me.com




                                                  16
